 Case 3:17-cv-00108-GPC-MDD Document 543 Filed 06/26/18 PageID.24255 Page 1 of 5



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8                       UNITED STATES DISTRICT COURT
9                     SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: QUALCOMM LITIGATION             Case No.: 17-cv-0108-GPC-MDD
12                                          ORDER ON JOINT MOTION FOR
13                                          DETERMINATION OF
                                            DISCOVERY DISPUTE
14                                          REGARDING APPLE’S
15                                          REQUESTS FOR PRODUCTION
16                                          [ECF NO. 524]
17
18        This Joint Motion was filed on June 14, 2018. The dispute is over four
19   categories of information requested by Apple from Qualcomm in a number of
20   related requests for production (“RFPs”). The categories are: 1. Documents
21   concerning Broadcom’s attempts to acquire Qualcomm; 2. Documents
22   concerning Qualcomm’s efforts to lobby various government regulatory
23   agencies; 3. Documents concerning Dr. Paul Jacobs’ bid to take Qualcomm
24   private; and, 4. Documents regarding certain public relations strategies and
25   campaigns.
26                                 LEGAL STANDARD
27        The Federal Rules of Civil Procedure authorize parties to obtain

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                                                                  17-cv-0108-GPC-MDD
 Case 3:17-cv-00108-GPC-MDD Document 543 Filed 06/26/18 PageID.24256 Page 2 of 5



1    discovery of “any nonprivileged matter that is relevant to any party’s claim or
2    defense and proportional to the needs of the case . . . .” Fed. R. Civ. P.
3    26(b)(1). “Information within the scope of discovery need not be admissible in
4    evidence to be discoverable.” Id. District courts have broad discretion to
5    limit discovery where the discovery sought is “unreasonably cumulative or
6    duplicative, or can be obtained from some other source that is more
7    convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C).
8         A party may request the production of any document within the scope of
9    Rule 26(b). Fed. R. Civ. P. 34(a). “For each item or category, the response
10   must either state that inspection and related activities will be permitted as
11   requested or state an objection to the request, including the reasons.” Rule
12   34(b)(2)(B). If the responding party chooses to produce responsive
13   information, rather than allow for inspection, the production must be
14   completed no later than the time specified in the request or another
15   reasonable time specified in the response. Id. An objection must state
16   whether any responsive materials are being withheld on the basis of that
17   objection. Rule 34(b)(2)(C). An objection to part of a request must specify the
18   part and permit inspection or production of the rest. Id. The responding
19   party is responsible for all items in “the responding party’s possession,
20   custody, or control.” Rule 34(a)(1). Actual possession, custody or control is
21   not required. Rather, “[a] party may be ordered to produce a document in the
22   possession of a non-party entity if that party has a legal right to obtain the
23   document or has control over the entity who is in possession of the
24   document.” Soto v. City of Concord, 162 F.R.D. 603, 620 (N.D. Cal. 1995).
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                                                                      17-cv-0108-GPC-MDD
 Case 3:17-cv-00108-GPC-MDD Document 543 Filed 06/26/18 PageID.24257 Page 3 of 5



1                                      DISCUSSION
2          1. Documents Regarding Broadcom
3          Qualcomm is asked to produce documents regarding Broadcom’s
4    attempt to acquire Qualcomm. Apple asserts that these documents likely
5    contain relevant information including assessments of the effect of
6    Qualcomm’s business practices on competition and Qualcomm’s efforts to
7    defend its anti-competitive business model. Qualcomm asserts that it has
8    produced information regarding Broadcom and that the additional
9    information sought here is not relevant or proportional. Qualcomm asserts
10   that in a related case in the Northern District of California, FTC v.
11   Qualcomm, No. 17-cv-0220-LHK, the Magistrate Judge denied a similar
12   request.
13         The Court finds the relevance of this information is questionable at
14   best. Qualcomm’s production, as described at ECF No. 424 at 161, is
15   sufficient. The Court is left with the firm impression that this is nothing
16   more than a fishing expedition. Qualcomm’s objection for relevance is
17   SUSTAINED. No further production is required.
18         2. Documents Regarding Lobbying
19         Qualcomm is asked to produce documents regarding efforts to lobby the
20   Committee on Foreign Investment in the United States and other
21   government regulators. Apple submits that these documents are likely to
22   contain relevant information to Qualcomm’s efforts to ward off challenges to
23   its current licensing model. Qualcomm objects for relevance and
24   proportionality.
25
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     1The Court will refer to page numbers supplied by CM/ECF rather than original
27   pagination throughout.

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                                                                          17-cv-0108-GPC-MDD
 Case 3:17-cv-00108-GPC-MDD Document 543 Filed 06/26/18 PageID.24258 Page 4 of 5



1         The Court finds that Apple has not shown that this category of records
2    is relevant to any claim or defense in this case. Qualcomm’s objection is
3    SUSTAINED.
4         3. Dr. Jacobs’ Bid for Qualcomm
5         Qualcomm is asked to produce documents regarding the bid of its
6    former Executive Chairman, Dr. Paul Jacobs, to take Qualcomm private.
7    Apple submits that that these documents are likely to contain relevant
8    information including analyses of Qualcomm’s business model, patent
9    licensing practices, and baseband chipset sales practices. Qualcomm objects
10   asserting that it is not in possession of documents generated by Dr. Jacobs
11   after leaving Qualcomm, and, in any event, are not relevant.
12        On June 22, 2018, the Court sustained Dr. Jacobs’ objection to
13   producing this information pursuant to a deposition subpoena from Apple.
14   (ECF No. 535). The Court affirms its prior ruling and SUSTAINS
15   Qualcomm’s objection here.
16        4. Documents Regarding Public Relations Campaign
17        Qualcomm is asked to produce documents reflecting an alleged public
18   relations campaign regarding its dispute with Apple. Apple asserts there
19   may be relevant information but does not supply details except to say that
20   they may reflect a retaliatory motive against Apple. On June 22, 2018, the
21   Court denied Apple’s request to take the deposition of Qualcomm’s Vice-
22   President of Public Relations on these issues. (ECF No. 536). Apple has not
23   convinced the Court that these records may contain information relevant to
24   any claim or defense. Qualcomm’s objection is SUSTAINED.
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 Case 3:17-cv-00108-GPC-MDD Document 543 Filed 06/26/18 PageID.24259 Page 5 of 5



1                                  CONCLUSION
2         Apple’s motion to compel further responses to these Requests for
3    Production, as presented in this Joint Motion, is DENIED.
4         IT IS SO ORDERED.
5    Dated: June 26, 2018
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